            Case 2:17-cv-00251-cr Document 13 Filed 01/18/18 Page 1 of 1

                                                                                   U.S. DtS Tii!CT COURT
                                                                                  DISTRICT OF VERMONT
                                                                                           FILED
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF VERMONT                           2018 JAN 18 PH 3: 43
HOWARD OPERA HOUSE                            )                                           CLERK
ASSOCIATES, LLC,
Plaintiff,
                                              )
                                              )
                                                                                  BY        lilvv
                                                                                       DEPUTY CLERK
                                              )
v.                                            )               Case No. 2:17-cv-00251-cr
                                              )
BRUEGGER'S ENTERPRISES, INC.,                 )
Defendant                                     )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Howard Opera House Associates, LLC and Defendant Bruegger's Enterprises,

Inc., by and through their respective counsel, pursuant to F.R.C.P. 41(a), stipulate that this action

and all claims that were or could have been asserted by either party may be dismissed with

prejudice, with each party to bear its own costs and attorneys' fees.

       Dated at Burlington, Vermont, this 18th day of January, 2018.


     HOWARD OPERA HOUSE                                 BRUEGGER'S ENTERPRISES, INC.
     ASSOCIATES, LLC


By: Isl Kevin A. Lumpkin                            By: Isl Walter E. Judge
    R. Jeffrey Behm, Esq.                               Walter E. Judge, Jr., Esq.
    Kevin A. Lumpkin, Esq.                              Downs Rachlin Martin PLLC
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    jbehm@sheeheyvt.com
    klumpkin@sheeheyvt.com



Approved and Ordered:


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DATED: - -      l l
            Lf- -
                JS,- - -
